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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND

                        MEMORANDUM OPINION AND ORDER


           Pending are defendants’ joint (1) motion for a full

complement of twenty peremptory challenges, (2) motion to

trifurcate jury deliberations, (3) motion for appropriate

punishment-related voir dire, attorney questioning, use of the

jury questionnaire and for individual, sequestered voir dire, and

(4) objections to punishment-related questions, all filed

September 18, 2006, and (5) motion to include additional capital

punishment questions in the proposed jury questionnaire, filed

February 15, 2007.       The government responded to the motion to

include additional capital punishment questions on February 23.

Defendants replied on February 28.


           At a pretrial motions hearing held February 20, 2007,

came defendant George Lecco, in person, and by counsel, Jay

McCamic and Federal Public Defender Mary Lou Newberger, and

defendant Valerie Friend, in person, and by counsel, Kevin
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McNally and Gary Collias, and the United States, by Criminal

Division Chief Philip H. Wright, Special Assistant United States

Attorney Richard Burns, and Assistant United States Attorney Greg

McVey.


           Regarding the joint motion for a full complement of

twenty peremptory challenges, defendants represent that a number

of courts have permitted additional peremptory challenges in

capital cases.       See, e.g., United States v. Johnson, No. 3:92-cr-

68 (E.D. Va.) (defendants awarded 30 peremptory challenges);

United States v. Murray, No. 92-200 (M.D. Pa.) (defendants

awarded 30 peremptory challenges); United States v. Diaz, No. 94-

328 (N.D. N.Y.) (defendants awarded 50 peremptory challenges);

United States v. Llera-Plaza, No. 98-362 (E.D. Pa.) (defendants

awarded 33 peremptory challenges)(each defendant received 10,

with an additional one each for the alternates); United States v.

Quinones, No. 00-761 (S.D.N.Y.) (defendants awarded 32 peremptory

challenges); United States v. Moussaoui, No. 01-cr-455 (E.D. Va.)

(defendant awarded 30 peremptory challenges); United States v.

Taylor, No. 02-CR-410 (D. Md.) (defendant awarded 30 peremptory

challenges); United States v. Cisneros, No. 04-CR-283-ALL (E.D.

Va.) (defendants awarded 40 peremptory challenges).               The court

concludes that it is vested with discretion to alter the number

of peremptory challenges available to the defendants.

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           As more fully stated on the record during the hearing

held February 20, 2007, the defendants have strategic interests

that diverge somewhat relating to the appropriate exercise of

their peremptory challenges.          To account for this difficulty, the

court ORDERS that the joint motion be, and it hereby is, granted

insofar as the government will be allotted a total of 20

peremptory challenges and the defendants allotted a total of 30

such challenges to be shared between them.             The court further

ORDERS that the joint motion be, and it hereby is, denied in all

other respects.


           Regarding the joint motion to trifurcate jury

deliberations, it is noted that the government has withdrawn its

opposition to like requests in other federal capital cases.                  See,

e.g., United States v. Natson, 444 F. Supp.2d 1296, 1309 (M.D.

Ga. 2006) (“Although the Government initially opposed this

motion, it informed the Court at the hearing on the motion that

it no longer opposed trifurcation.”).


           That consideration aside, the court notes the well-

reasoned and considered analysis in United States v. Johnson, 362

F. Supp.2d 1043 (N.D. Iowa 2005), concerning the merits of

trifurcation.        In particular, the court shares the concern that

unfair prejudice may result from the jury hearing evidence of

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“non-statutory” aggravating factors, such as victim impact

evidence, before determining whether the requisite mental state

and “statutory” aggravating factors have been proven.              Id. at

1108 (the court noting, in its own, personal experience, the

“unsurpassed emotional power of victim impact testimony on a

jury.”).


           Inasmuch as trifurcation avoids this and similar types

of difficulties, it is ORDERED that the joint motion to

trifurcate be, and it hereby is, granted to the extent that, if

this matter proceeds to the penalty phase, the proceeding will be

bifurcated as to death eligibility and selection.


           Dispersed throughout defendants’ remaining filings are

a number of issues, each of which the court addresses in turn.

First, on March 15, 2007, the court, consistent with the parties’

requests, instructed, and questioned for hardship and related

issues, an initial panel of 161 potential jurors.             Those

individuals not excused for cause on March 15, 2007, were

required that same day to complete the written questionnaire

jointly agreed upon by the parties.1


     1
      Five individuals were permitted to complete the
questionnaire on March 16, 2007, in view of the late hour at
which their participation in more individualized, hardship voir
                                                   (continued...)

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           Second, the court notified the parties during a

teleconference held March 13, 2007, that it would deny

defendants’ joint motion to include two further capital

punishment questions in the proposed jury questionnaire.               Those

two proposed questions were as follows:

     109(a): In your opinion, should everyone who commits an
     intentional murder receive the death penalty if the
     murder involved:

     Beating of the victim                              YES  NO
     A prosecution witness                              YES  NO
     A drug conspiracy                                  YES  NO
     Payment or promise of payment                      YES  NO
     A female victim                                    YES  NO
     Drug and alcohol intoxication                      YES  NO

     109(b): In your opinion, could the following facts
     support a sentence of life imprisonment instead of the
     death penalty for a person who commits an intentional
     murder of a government witness when:

     The person had an abusive or
     neglectful childhood                               YES  NO
     The person had a mental illness
     or emotional disturbance                           YES  NO
     The person was sexually abused                     YES  NO
     The person was under the influence
     of alcohol or drugs                                YES  NO
     The person had little or no criminal
     record.                                            YES  NO
     The person had many years as a
     productive member of society                       YES  NO


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 (...continued)
dire concluded. Additionally, 35 potential jurors did not appear
as commanded on March 15. The jury administrator has been
directed to use her best efforts to locate each of these
potential jurors. When contacted, the potential jurors will be
required to advise the court in writing why they did not appear.

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     Others equally guilty will not be
     punished by death                                  YES  NO
     The victim was engaged in criminal
     conduct                                            YES  NO
     The victim was engaged in the
     longtime use and distribution of drugs             YES  NO


           The government has responded in opposition, listing

alternative questions that might be posed instead.


           The inquiry is a difficult one.           The United States

Court of Appeals for the Tenth Circuit, in United States v.

McVeigh, 153 F.3d 1166 (10th Cir. 1998), can be read to prohibit

context-specific questions on a categorical basis.             Additionally,

in several cases, our court of appeals has concluded it is not

error to refuse such questions.        See, e.g., Richmond v. Polk, 375

F.3d 309, 329-31 (4th Cir. 2004).


           At bottom, the interests of the court, the parties, and

the public are best served by seating jurors who will, if

necessary, be able to conduct the penalty weighing process in a

fair and impartial manner.      The court’s desire, consistent with

Supreme Court precedent, is to pursue a balanced approach that

will achieve that end without allowing the potential jurors to be

"staked out" (committing a juror to react in a certain way based

on certain findings) or "sneak previewed" (ascertaining how a

juror will weigh particular evidence at trial).


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           The court is concerned that the defendants’ proposed

questions will not be susceptible to categorical answers by many,

if not a majority, of potential jurors.              As a result, the

questions may provoke a categorical answer where one would not

have otherwise been given originally or, alternatively, result in

confusion.    Although the court may permit inquiry along the lines

suggested by defendants during individual voir dire, the proposed

additional questions were not, as noted, included within the

questionnaire.


           Consistent with the court’s oral ruling, it is ORDERED

that the joint motion to include additional capital punishment

questions 109(a) and (b) in the proposed jury questionnaire be,

and it hereby is, denied.


           Third, the parties disagree concerning the method by

which they will exercise their peremptory challenges.                In view of

the disparate number of peremptory challenges between the

government and the defendants, the court concludes the

traditional method of exercising strikes is the better course.

Accordingly, the court will employ the traditional method for

exercise of peremptory challenges, with approximately 75

qualified, potential jurors available for the process at the

conclusion of individual voir dire.         The court will also permit


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attorney-conducted voir dire during the individual voir dire

process to commence on April 16, 2007.


           Fourth, the court invited the parties’ input concerning

its questioning and instructions throughout the jury selection

process, specifically (1) when the potential jurors appeared on

March 15, 2007, for inquiry by the court and to execute the

questionnaire, (2) for individual voir dire to commence on April

16, 2007, and (3) at the time the jury is seated to try the

issues in the case.      The parties have submitted a proposed script

for the first two phases.      The parties are further directed to

submit an additional, proposed script for the third phase no

later than March 30, 2007.


           The court contemplates the following time line of dates

and case events leading to opening statements:

     1.    March 19, 2007--Clerk makes available electronic,
           compact disc copies to counsel of executed
           questionnaires;

     2.    April 4, 2007--Counsel inform the court of those
           potential jurors they mutually recommend be dismissed
           for cause;

     3.    April 9, 2007--The Clerk sends to each potential juror
           a letter advising them of their report date and time
           for individual voir dire; and

     4.    April 16, 2007--Jurors begin reporting for individual
           voir dire. Any additional challenges for cause will be
           entertained no later than the conclusion of (1) the
           morning session for jurors interviewed during that
           period; and (2) the afternoon session for jurors
           interviewed during that period.

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           The next business day after a panel of approximately 75

potential jurors is passed for cause, those potential jurors will

be instructed to return to the Robert C. Byrd United States

Courthouse and the parties will at that time exercise their

peremptory challenges.      Counsel are encouraged to identify in

their forthcoming submission any similar matters that require

like consideration.2     Any objections to the foregoing schedule

and events must be made in writing no later than March 23, 2007.


           Having resolved the extant matters contained in

defendants’ joint motion for appropriate punishment-related voir

dire, attorney questioning, use of the jury questionnaire and for

individual, sequestered voir dire and the joint objections to

punishment-related questions, the court ORDERS that those two

motions be, and they hereby are, treated as terminated.


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      The court perceives one additional argument by defendants.
In a capital case, a prospective juror may be excluded for cause
when the juror's views “‘would prevent or substantially impair
the performance of his duties as a juror in accordance with his
instructions and his oath.’” Morgan v. Illinois, 504 U.S. 719,
728 (1992) (quoted authority omitted). Any juror who “in no case
would vote for capital punishment, regardless of his or her
instructions,” Morgan, 504 U.S. at 728, and any juror “who will
automatically vote for the death penalty in every case,” id. at
729, is not an impartial juror and will be removed for cause.
As reflected in the proceedings to date, the court intends to
follow Supreme Court precedent on the matter. To the extent
defendants object to this approach, either in principle or based
upon the text of the FDPA, such objection is overruled.

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            The Clerk is directed to forward copies of this written

opinion and order to all counsel of record.

                                    DATED:    March 21, 2007


                                    John T. Copenhaver, Jr.
                                    United States District Judge




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